        Case: 5:20-cr-00122-GFVT-EBA Doc #: 1-3 Filed: 10/01/20 Page: 1 of 1 - Page ID#: 12
AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                               for the
                                                  Eastern District
                                                __________         of Kentucky
                                                            District  of __________

                  United States of America                        )
                             v.                                   )
                BRADLEY SCOTT HELTON                              )      Case No.
                                                                  )                 5:20-mj-5243
                                                                  )
                                                                  )
                                                                  )
                          Defendant(s)


                                                CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of           May 16, 2020 and May 16, 2020       in the county of               Madison        in the
      Eastern          District of          Kentucky          , the defendant(s) violated:

            Code Section                                                    Offense Description
18/2251(a)                                     Knowingly employ, use, persuade, induce, entice and coerce a minor to
                                               engage in sexually explicit conduct to produce any visual depiction of such
                                               conduct, knowing or having reason to know that such visual depictions would
                                               be transported using any means or facility of interstate or foreign commerce
                                               or was produced or transmitted using materials that have been mailed,
                                               shipped or transported in or affecting interstate or foreign commerce



         This criminal complaint is based on these facts:
See attached Affidavit of SA James F. Bugg




         ✔ Continued on the attached sheet.
         ’

                                                            Signed remotely per FRCP 4.1. See addendum.
                                                                                             Complainant’s signature

                                                                           James F. Bugg, SA Homeland Security Investigation
                                                                                              Printed name and title

Sworn to before me and signed in my presence.


Date:             10/01/2020
                                                                                                Judge’s signature

City and state:                      Lexington, Kentucky                        Matthew A. Stinnett, US Magistrate Judge
                                                                                              Printed name and title
